-67;1' 5HY      &,9,/&29(56+((7
                         Case 3:22-cv-00172-L             Document 1-1 Filed 01/26/22 Page 1 of 2 PageID 7
7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHQRUVXSSOHPHQWWKHILOLQJDQGVHUYLFHRISOHDGLQJVRURWKHUSDSHUVDVUHTXLUHGE\ODZH[FHSWDV
SURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULVUHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKH
SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

, D      3/$,17,))6                                                                                           '()(1'$176
UNITED STATES OF AMERICA                                                                                    $6,123,652.21 Seized from the FTX Trading Limited Account in the
                                                                                                            name of "Evegnii Igorevich Polianin" Beginning with "0X67E"

     E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII                                                        &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               127(          ,1/$1'&21'(01$7,21&$6(686(7+(/2&$7,212)
                                                                                                                              7+(75$&72)/$1',192/9('
                                                                                                                  
     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                 $WWRUQH\V(If Known)
Tiffany H. Eggers, Assistant United States Attorney
1100 Commerce St., Third Floor, Dallas, Texas 75242


,,%$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                     ,,,&,7,=(16+,32)35,1&,3$/3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                                               and One Box for Defendant)
u  86*RYHUQPHQW                 u  )HGHUDO4XHVWLRQ                                        37) '()         37)  '()
        3ODLQWLII                            (U.S. Government Not a Party)                         &LWL]HQRI7KLV6WDWH                              u     u    ,QFRUSRUDWHGor3ULQFLSDO3ODFH                             u     u 
                                                                                                                                                                    RI%XVLQHVV,Q7KLV6WDWH

u  86*RYHUQPHQW                 u  'LYHUVLW\                                               &LWL]HQRI$QRWKHU6WDWH                  u          u        ,QFRUSRUDWHGand3ULQFLSDO3ODFH                   u          u 
        'HIHQGDQW                            (Indicate Citizenship of Parties in Item III)                                                                             RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                                   &LWL]HQRU6XEMHFWRID                   u          u        )RUHLJQ1DWLRQ                                     u          u 
                                                                                                   )RUHLJQ&RXQWU\
,91$785(2)68,7(Place an “X” in One Box Only)
           &2175$&7                                            72576                                   )25)(,785(3(1$/7<                                   %$1.5837&<                                27+(567$787(6
u   ,QVXUDQFH                    3(5621$/,1-85<            3(5621$/,1-85<         u 'UXJ5HODWHG6HL]XUH                    u $SSHDO86&                       u   )DOVH&ODLPV$FW
u   0DULQH                       u $LUSODQH                  u 3HUVRQDO,QMXU\           RI3URSHUW\86&                 u :LWKGUDZDO                              u   6WDWH5HDSSRUWLRQPHQW
u   0LOOHU$FW                   u $LUSODQH3URGXFW                  3URGXFW/LDELOLW\   u 2WKHU                                        86&                             u   $QWLWUXVW
u   1HJRWLDEOH,QVWUXPHQW                 /LDELOLW\            u +HDOWK&DUH                                                                                                        u   %DQNVDQG%DQNLQJ
u   5HFRYHU\RI2YHUSD\PHQW      u $VVDXOW/LEHO                   3KDUPDFHXWLFDO                                                       3523(57<5,*+76                             u   &RPPHUFH
        (QIRUFHPHQWRI-XGJPHQW             6ODQGHU                      3HUVRQDO,QMXU\                                                    u &RS\ULJKWV                              u   'HSRUWDWLRQ
u   0HGLFDUH$FW                 u )HGHUDO(PSOR\HUV¶                3URGXFW/LDELOLW\                                                  u 3DWHQW                                  u   5DFNHWHHU,QIOXHQFHGDQG
u   5HFRYHU\RI'HIDXOWHG                 /LDELOLW\            u $VEHVWRV3HUVRQDO                                                     u 7UDGHPDUN                                      &RUUXSW2UJDQL]DWLRQV
       6WXGHQW/RDQV                u 0DULQH                            ,QMXU\3URGXFW                                                                                                  u   &RQVXPHU&UHGLW
        ([FOXGHV9HWHUDQV           u 0DULQH3URGXFW                    /LDELOLW\                         /$%25                                62&,$/6(&85,7<                          u   &DEOH6DW79
u   5HFRYHU\RI2YHUSD\PHQW               /LDELOLW\             3(5621$/3523(57<          u   )DLU/DERU6WDQGDUGV                  u    +,$ II                          u   6HFXULWLHV&RPPRGLWLHV
       RI9HWHUDQ¶V%HQHILWV        u 0RWRU9HKLFOH             u 2WKHU)UDXG                    $FW                                  u    %ODFN/XQJ                              ([FKDQJH
u   6WRFNKROGHUV¶6XLWV          u 0RWRU9HKLFOH             u 7UXWKLQ/HQGLQJ        u   /DERU0DQDJHPHQW                      u    ',:&',::  J                     u   2WKHU6WDWXWRU\$FWLRQV
u   2WKHU&RQWUDFW                        3URGXFW/LDELOLW\     u 2WKHU3HUVRQDO                 5HODWLRQV                            u    66,'7LWOH;9,                       u   $JULFXOWXUDO$FWV
u   &RQWUDFW3URGXFW/LDELOLW\   u 2WKHU3HUVRQDO                    3URSHUW\'DPDJH      u   5DLOZD\/DERU$FW                     u    56,  J                           u   (QYLURQPHQWDO0DWWHUV
u   )UDQFKLVH                             ,QMXU\                u 3URSHUW\'DPDJH         u   )DPLO\DQG0HGLFDO                                                                  u   )UHHGRPRI,QIRUPDWLRQ
                                     u 3HUVRQDO,QMXU\                 3URGXFW/LDELOLW\           /HDYH$FW                                                                                 $FW
                                              0HGLFDO0DOSUDFWLFH                                 u   2WKHU/DERU/LWLJDWLRQ                                                              u   $UELWUDWLRQ
       5($/3523(57<                     &,9,/5,*+76            35,621(53(7,7,216          u   (PSOR\HH5HWLUHPHQW                     )('(5$/7$;68,76                           u   $GPLQLVWUDWLYH3URFHGXUH
u   /DQG&RQGHPQDWLRQ            u 2WKHU&LYLO5LJKWV           +DEHDV&RUSXV                    ,QFRPH6HFXULW\$FW                   u 7D[HV 863ODLQWLII                          $FW5HYLHZRU$SSHDORI
u   )RUHFORVXUH                  u 9RWLQJ                    u $OLHQ'HWDLQHH                                                             RU'HIHQGDQW                                  $JHQF\'HFLVLRQ
u   5HQW/HDVH (MHFWPHQW       u (PSOR\PHQW                u 0RWLRQVWR9DFDWH                                                     u ,56²7KLUG3DUW\                         u   &RQVWLWXWLRQDOLW\RI
u   7RUWVWR/DQG                u +RXVLQJ                        6HQWHQFH                                                                  86&                                   6WDWH6WDWXWHV
u   7RUW3URGXFW/LDELOLW\                $FFRPPRGDWLRQV        u *HQHUDO
u   $OO2WKHU5HDO3URSHUW\      u $PHUZ'LVDELOLWLHV    u 'HDWK3HQDOW\                    ,00,*5$7,21
                                              (PSOR\PHQW               2WKHU                     u 1DWXUDOL]DWLRQ$SSOLFDWLRQ
                                     u $PHUZ'LVDELOLWLHV    u 0DQGDPXV 2WKHU        u 2WKHU,PPLJUDWLRQ
                                              2WKHU                 u &LYLO5LJKWV              $FWLRQV
                                     u (GXFDWLRQ                 u 3ULVRQ&RQGLWLRQ
                                                                     u &LYLO'HWDLQHH
                                                                           &RQGLWLRQVRI
                                                                           &RQILQHPHQW
925,*,1(Place an “X” in One Box Only)
u  2ULJLQDO             u  5HPRYHGIURP                u         5HPDQGHGIURP           u  5HLQVWDWHGRU              u  7UDQVIHUUHGIURP                   u  0XOWLGLVWULFW
    3URFHHGLQJ               6WDWH&RXUW                             $SSHOODWH&RXUW             5HRSHQHG                        $QRWKHU'LVWULFW                        /LWLJDWLRQ
                                                                                                                                     (specify)
                                         &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                         18 U.S.C. § 981(a)(1)(A), 18 U.S.C. § 981(a)(1)(C) & (G)
9,&$86(2)$&7,21                     %ULHIGHVFULSWLRQRIFDXVH
                                         Complaint for Forfeiture
9,,5(48(67(',1   u &+(&.,)7+,6,6$&/$66$&7,21                                                 '(0$1'                                                 &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
&203/$,17      81'(558/()5&Y3                                                                                                               -85<'(0$1'         u <HV     u 1R
9,,,5(/$7('3(1',1*25&/26('&$6( 6
                       (See instructions):
,)$1<                         -8'*(                                                                                                      '2&.(7180%(5
'$7(                                                                    6,*1$785(2)$77251(<2)5(&25'
01/26/2022                                                             /s/ Tiffany H. Eggers
)252)),&(86(21/<

    5(&(,37                     $02817                                   $33/<,1*,)3                                          -8'*(                                        0$*-8'*(
       -67;1'5HYHUVH 5HY
                             Case 3:22-cv-00172-L Document 1-1 Filed 01/26/22                                         Page 2 of 2 PageID 8
                           ,16758&7,216)25$77251(<6&203/(7,1*&,9,/&29(56+((7)250-6
                                                                        $XWKRULW\)RU&LYLO&RYHU6KHHW

       7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHVQRUVXSSOHPHQWVWKHILOLQJVDQGVHUYLFHRISOHDGLQJRURWKHUSDSHUVDV
       UHTXLUHGE\ODZH[FHSWDVSURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULV
       UHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKHSXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW&RQVHTXHQWO\DFLYLOFRYHUVKHHWLVVXEPLWWHGWRWKH&OHUNRI
       &RXUWIRUHDFKFLYLOFRPSODLQWILOHG7KHDWWRUQH\ILOLQJDFDVHVKRXOGFRPSOHWHWKHIRUPDVIROORZV

       , D    3ODLQWLIIV'HIHQGDQWV(QWHUQDPHV ODVWILUVWPLGGOHLQLWLDO RISODLQWLIIDQGGHIHQGDQW,IWKHSODLQWLIIRUGHIHQGDQWLVDJRYHUQPHQWDJHQF\XVH
                RQO\WKHIXOOQDPHRUVWDQGDUGDEEUHYLDWLRQV,IWKHSODLQWLIIRUGHIHQGDQWLVDQRIILFLDOZLWKLQDJRYHUQPHQWDJHQF\LGHQWLI\ILUVWWKHDJHQF\DQG
                WKHQWKHRIILFLDOJLYLQJERWKQDPHDQGWLWOH
        E    &RXQW\RI5HVLGHQFH)RUHDFKFLYLOFDVHILOHGH[FHSW86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\ZKHUHWKHILUVWOLVWHGSODLQWLIIUHVLGHVDWWKH
                WLPHRIILOLQJ,Q86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\LQZKLFKWKHILUVWOLVWHGGHIHQGDQWUHVLGHVDWWKHWLPHRIILOLQJ 127(,QODQG
                FRQGHPQDWLRQFDVHVWKHFRXQW\RIUHVLGHQFHRIWKHGHIHQGDQWLVWKHORFDWLRQRIWKHWUDFWRIODQGLQYROYHG
        F    $WWRUQH\V(QWHUWKHILUPQDPHDGGUHVVWHOHSKRQHQXPEHUDQGDWWRUQH\RIUHFRUG,IWKHUHDUHVHYHUDODWWRUQH\VOLVWWKHPRQDQDWWDFKPHQWQRWLQJ
                LQWKLVVHFWLRQ VHHDWWDFKPHQW 

       ,,    -XULVGLFWLRQ7KHEDVLVRIMXULVGLFWLRQLVVHWIRUWKXQGHU5XOH D )5&Y3ZKLFKUHTXLUHVWKDWMXULVGLFWLRQVEHVKRZQLQSOHDGLQJV3ODFHDQ;
                LQRQHRIWKHER[HV,IWKHUHLVPRUHWKDQRQHEDVLVRIMXULVGLFWLRQSUHFHGHQFHLVJLYHQLQWKHRUGHUVKRZQEHORZ
                8QLWHG6WDWHVSODLQWLII  -XULVGLFWLRQEDVHGRQ86&DQG6XLWVE\DJHQFLHVDQGRIILFHUVRIWKH8QLWHG6WDWHVDUHLQFOXGHGKHUH
                8QLWHG6WDWHVGHIHQGDQW  :KHQWKHSODLQWLIILVVXLQJWKH8QLWHG6WDWHVLWVRIILFHUVRUDJHQFLHVSODFHDQ;LQWKLVER[
                )HGHUDOTXHVWLRQ  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHMXULVGLFWLRQDULVHVXQGHUWKH&RQVWLWXWLRQRIWKH8QLWHG6WDWHVDQDPHQGPHQW
                WRWKH&RQVWLWXWLRQDQDFWRI&RQJUHVVRUDWUHDW\RIWKH8QLWHG6WDWHV,QFDVHVZKHUHWKH86LVDSDUW\WKH86SODLQWLIIRUGHIHQGDQWFRGHWDNHV
                SUHFHGHQFHDQGER[RUVKRXOGEHPDUNHG
                'LYHUVLW\RIFLWL]HQVKLS  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHSDUWLHVDUHFLWL]HQVRIGLIIHUHQWVWDWHV:KHQ%R[LVFKHFNHGWKH
                FLWL]HQVKLSRIWKHGLIIHUHQWSDUWLHVPXVWEHFKHFNHG 6HH6HFWLRQ,,,EHORZ127(IHGHUDOTXHVWLRQDFWLRQVWDNHSUHFHGHQFHRYHUGLYHUVLW\
                FDVHV

       ,,,   5HVLGHQFH FLWL]HQVKLS RI3ULQFLSDO3DUWLHV7KLVVHFWLRQRIWKH-6LVWREHFRPSOHWHGLIGLYHUVLW\RIFLWL]HQVKLSZDVLQGLFDWHGDERYH0DUNWKLV
                VHFWLRQIRUHDFKSULQFLSDOSDUW\

       ,9      1DWXUHRI6XLW3ODFHDQ;LQWKHDSSURSULDWHER[,IWKHQDWXUHRIVXLWFDQQRWEHGHWHUPLQHGEHVXUHWKHFDXVHRIDFWLRQLQ6HFWLRQ9,EHORZLV
                VXIILFLHQWWRHQDEOHWKHGHSXW\FOHUNRUWKHVWDWLVWLFDOFOHUN V LQWKH$GPLQLVWUDWLYH2IILFHWRGHWHUPLQHWKHQDWXUHRIVXLW,IWKHFDXVHILWVPRUHWKDQ
                RQHQDWXUHRIVXLWVHOHFWWKHPRVWGHILQLWLYH

       9      2ULJLQ3ODFHDQ;LQRQHRIWKHVL[ER[HV
                2ULJLQDO3URFHHGLQJV  &DVHVZKLFKRULJLQDWHLQWKH8QLWHG6WDWHVGLVWULFWFRXUWV
                5HPRYHGIURP6WDWH&RXUW  3URFHHGLQJVLQLWLDWHGLQVWDWHFRXUWVPD\EHUHPRYHGWRWKHGLVWULFWFRXUWVXQGHU7LWOH86&6HFWLRQ
                :KHQWKHSHWLWLRQIRUUHPRYDOLVJUDQWHGFKHFNWKLVER[
                5HPDQGHGIURP$SSHOODWH&RXUW  &KHFNWKLVER[IRUFDVHVUHPDQGHGWRWKHGLVWULFWFRXUWIRUIXUWKHUDFWLRQ8VHWKHGDWHRIUHPDQGDVWKHILOLQJ
                GDWH
                5HLQVWDWHGRU5HRSHQHG  &KHFNWKLVER[IRUFDVHVUHLQVWDWHGRUUHRSHQHGLQWKHGLVWULFWFRXUW8VHWKHUHRSHQLQJGDWHDVWKHILOLQJGDWH
                7UDQVIHUUHGIURP$QRWKHU'LVWULFW  )RUFDVHVWUDQVIHUUHGXQGHU7LWOH86&6HFWLRQ D 'RQRWXVHWKLVIRUZLWKLQGLVWULFWWUDQVIHUVRU
                PXOWLGLVWULFWOLWLJDWLRQWUDQVIHUV
                0XOWLGLVWULFW/LWLJDWLRQ  &KHFNWKLVER[ZKHQDPXOWLGLVWULFWFDVHLVWUDQVIHUUHGLQWRWKHGLVWULFWXQGHUDXWKRULW\RI7LWOH86&6HFWLRQ
                :KHQWKLVER[LVFKHFNHGGRQRWFKHFN  DERYH

       9,     &DXVHRI$FWLRQ5HSRUWWKHFLYLOVWDWXWHGLUHFWO\UHODWHGWRWKHFDXVHRIDFWLRQDQGJLYHDEULHIGHVFULSWLRQRIWKHFDXVH'RQRWFLWHMXULVGLFWLRQDO
                VWDWXWHVXQOHVVGLYHUVLW\([DPSOH86&LYLO6WDWXWH86&%ULHI'HVFULSWLRQ8QDXWKRUL]HGUHFHSWLRQRIFDEOHVHUYLFH

       9,,    5HTXHVWHGLQ&RPSODLQW&ODVV$FWLRQ3ODFHDQ;LQWKLVER[LI\RXDUHILOLQJDFODVVDFWLRQXQGHU5XOH)5&Y3
                'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
                -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

          9,,, 5HODWHG&DVHV7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IDUHODWHGFDVHH[LVWVZKHWKHUSHQGLQJRUFORVHGLQVHUW
                      WKHGRFNHWQXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV$FDVHLVUHODWHGWRWKLVILOLQJLIWKHFDVH LQYROYHVVRPHRUDOORIWKHVDPH
          SDUWLHVDQGLVEDVHGRQWKHVDPHRUDVLPLODUFODLP LQYROYHVWKHVDPHSURSHUW\WUDQVDFWLRQRUHYHQW LQYROYHVVXEVWDQWLDOO\VLPLODULVVXHVRIODZ
 DQGIDFWDQGRU LQYROYHVWKHVDPHHVWDWHLQDEDQNUXSWF\DSSHDO

G$WWRUQH\6LJQDWXUH'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
